lCS€ 6:19-bl<-01457-KSJ DOC 1 Filed OS/O?/FlLF:EU. VA\K MA‘L

MAR '“`7 2019
United States Bankruptoy Couit for the:

i\/iiciciie DisiricroiFiorida CL_ERK U_S, BANKRUPTCY,
l 5 ORLANDO DlVlSlON

  

Ci;i‘apter you are niing under:
Chapter 7

chapterii
3 ChapteriZ l
g iii check if ins is an

Ci Chapter13
amended filing

Case number (iri<nown):

 

O'riiciai Form iOi
Voia.m‘&ary Yet§‘&§®n tier individuals §§§iie§ egger Haiei€reige‘&ey mr

The bankruptcy forms use you and Debfor 1 to refer to a debtor Fiiing aione. A married couple may file a bankruptcy case together_cailed a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in ali of the fonns.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

   

ldentify Yourself
About Debtor 1: About Debtor 2 (Spouse Oniy in a Joint Case):

' 1. Your full name

Write the name that is on your Nedra
government-issued picture

 

 

identification (for examp|e, Firsl name Flrst name

your driver’s license or B

paSSpOi‘i). Midd|e name i\/iiddie name
Lyman

 

Bring your picture

 

 

 

 

 

 

 

identification to your meeting l-a$l name LSS? name
with the tmstee.
Sufnx (Sr., Jr., iil iii) Sui"iix (Sr., Jr., i|, iii)
2. Aii other names you NOn@
have used in the last 8 pm name First name
years
include your married or Midd|e name Midd|e name
maiden names.
Lasi name i_asl name
First name First name
Middie name i\/iiddie name
Last name i_ast name
f 3, Oni the last 4 di its of
l y g - xx ~ 5 7 9 1 )00< - >o< -

your Sociai Security
number or federal 0R OR
individual Taxpayer
identification number ~ __ _ ___ _ __
(iTi|\i)

Oi“ticiai Form 101 Voiuntary Petii'ion for individuals Fiiing for Banl<ruptcy page 1

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Case number (rknawn)

Debtw Nedra `B layman

Firs\ Name Middie Name Lasi Nan'ie

 

t 4_ Any business names

and Empioyer
identification Numbers
(Eii\i) you have used in
the last 8 years

include trade names and
doing business as names

Where you live

Why you are choosing
this district to file for
bankruptcy

Officiai i-'omi 101

About Debtor 1:

i have not used any business names or Eii\is,

About Debtor 2 (Spouse Only in a

Joint Case):

i have not used any business names or Eii\is.

 

Business name

Business name

 

§N~

Ei_i\i_

Business name

1400 South Nova Rd.

Business name

§iN_

M__

if Debtor 2 lives at a different address:

 

 

 

Number Street Number Street
Apt. 259
Daytona Beach, FL 32114
City State Z|P Code Cily Staie ZIP Code
Voiusia County
County

 

County

if your mailing address is different from the one
above, till it in here. Note that the court wiii send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, Hl| it in here. Note that the court wiii send
any notices to this mailing address.

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZiP Code City State ZIP Cocie
Check one.' Check one.'

E Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

Cl i have another reason. Exp|ain,
(See 28 U.S.C, § 1408,]

 

 

 

 

E] Over the iast 180 days before ming this petition,
i have lived in this district longer than in any
other district

ll i have another reason. Expiain.
(See 28 U.S.C. § 1408`)

 

 

 

 

Voiuntary Petition for individuais Fi!ing for Bankruptcy page 2

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Debtor 1 N€\`lra B l.\/m€.l'i Case number (irknawn)

Firsl Nai'ne Middie Nai'ne Las\ Name

 

Teiil the ©oiiiint E:\boi,iit Your Banlkruptcy Case

 

7_ The chapter of the Check one. (For a brief description of each, see l\loi‘/`ce Required by 71 U.S.C. § 342(b) for individuals Fi/i'ng
Bankmptcy §§on you for Bankruptcy (Fon'n 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file Chapter 7
under

Chapter 11
§ Chapter 12
g Chapter 13

s. How you will pay the fee l will pay the entire fee when |fiie my petition, Please check with the clerk’s office in your
local court for more details about how you may pay. Typicai|y, if you are paying the fee
yourse|f, you may pay with cash, cashier`s checl<, or money order. if your attorney is
submitting your payment on your behalf your attorney may pay with a credit card or check
with a pre-printed address.

[] l need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay i'he Fi`/ing Fee in installments (Ofi`icla| Form 103A).

g i request that my fee be waived (You may request this option only if you are filing for Chapter 7_
By |aw, a judge may, but is not required to, Waive your fee, and may do so only if your income is
less than 150% of the ofhcial poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Applicatlon to Have the
Chapter 7 Filing Fee Waived (Officiai Form 103B) and file it with your petition.

 

 

 

9. Have you filed for g NO
bankruptcy within the
last 8 years? n Ye$- DlSll'iCl When Case number
MM/ DD / YYYY
Distn`ct When Case number _%_%
MM / DD /YYYY
District When Case number
MM / DD /YYYY
10. Are any bankruptcy a NO

cases pending or being

filed by a spouse who is g Ye$' Debf°i R@lafion$hipfo you

__`_

 

 

 

 

not fllmg thls ca_$e with District When Case number, if known

you, or bya business iviM/DD /YYYY

partner, or by an

affiliate?
Debtor Relationship to you
District When Case number, if known

MM / DD / YYYY
11 DO _yOU rent your Cl No. co io line 12.
res'dence? 9 Yes. Has your landlord obtained an eviction judgment against you?

g ~No_ Go to line 12.

m Yes. Fi|i out ln/'tia/ StatemeniAbout an Evici‘ion .ludgmentAgainst You (Form 101A) and file it as
part of this bankruptcy petition.

Official Forrn 101 Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debtor 1 N ed l'a B l-l}"ma n Case number (irkno~.imi

Firsl i\|ame Middle Narne Last Name

; Report ieloouit Any Bi,isinesses You ©Wri as a Soiie i-°‘ro[orietor

 

12. Are you a sole proprietor NO, 90 to part 4_
of any tull~= or part-time
business? g Yes. l\iame and location of business

A sole proprietorship is a
business you operate as an
individuai, and is not a
separate legal entity such as
a corporation, partnership or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition

 

Name of business, if any

 

Number Street

 

 

City State Z|P Code

Checl< the appropriate box to describe your business:

n Health Care Business (as defined in 11 U.S.C_ § 101 (27/\))
E] Single Asset Reai Estate (as defined in 11 U.S.C,» § 101(51B))
El Stocl<broker (as defined in 11 U.S,C. § 101(53A))

[;l Commodity Broker (as defined in 11 U.S.C. § 101(6))

m None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
Bankmptcy Code and most recent balance sheel, statement of operations, cash-flow statement, and federal income tax return or if
are you a Sma” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor’?
__ a No. l am notfiiing under Chapter11.
For a dehnition of small
DUSI'D€SS d€bfol’, 599 U No. l am hling under Chapter 11, but l am NOT a small business debtor according to the dennition in
11 U~S~C- § 101(5_1Dl the Bankruptcy Codet

il Yes. l am filing under Chapter 11 and l arn a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Owri or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

 

14. Do you own or have any g NO
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

n Yes. lWhat is the hazard?

 

 

if immediate attention is needed, why is it needed?

 

For examp/e, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs ?

 

Where is the property'?

 

Number Street

 

 

City State ZlP Code

thcia| FOrn'i 101 Voluntary Petition for individuals Fiiirig for Bankruptcy page 4

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oebror 1 N'Gdl'a 7 5

First Name Middle Name

 

15. Tell the court whether
you have received a
briefing about credit
counseling

The law requires that you
receive a briefing about credit
counseling before you Hle for
bankruptcy You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to tile.

lf you me anyway the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

Lvrnan

Lzsl Narne

n'~.bout Debtor 11

You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

a l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you N|UST H|e a copy of the certificate and payment
plan, if any

l;] l certify that l asked for credit counseling
services from an approved agency but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30~day temporary waiver
of the requirement.

To ask for a BO-day temporary waiver of the
requirement, attach a separate sheet explaining
What efforts you made to obtain the briefing, Why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briehng before you filed for bankruptcy
lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must me a certificate from the approved
agency along with a copy of the payment plan you
developed, if any lf you do not do so, your case
may be dismissed
Any extension of the 30~day deadline is granted

' only for cause and is limited to a maximum of 15
days

L_.l l arn not required to receive a briefing about
credit counseling because of:

m incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about hhances.

n Dlsability l\/|y physical disability causes me
to be unable to participate in a
briefing in person` by phone, or
through the internet, even after l
reasonably fried to do so.

|:l Active duty l am currently on active military
duty iri a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for Waiver of credit counseling with the cour't.

\!oluntary Petition for lndividuals Filing for

Case number (ri known)

 

Expiaiiii Your Efiioii~ts to Receive a Sriet‘i'ing Aboi.iit Ciredit Counselliing

About Delotor 2 (Spouse Only in a Joirit Case):

You must check one.'

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

g l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you l\./lUST file a copy of the certificate and payment
plan, if any.

ij l certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30~day temporary waiver
of the requirementl

To ask for a 30-day temporary Waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed if any lf you do not do so, your case
may be dismissed

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

i;l l am not required to receive a briefing about
credit counseling because of:

n incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

l;] Disability lvly physical disability causes me
to be unable to participate in a
briefing iri person, by phone, or
through the infernet, even after |
reasonably tried to do so.

l.:] Active duty l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

Barikruptcy _ page 5

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Debtor 1 N Q.C`\ pike d 4`\»‘ n/\M
F.isi name Mi¢iaie Name test Name t

mAnswer These Questions for Reporting Purposes

Case number iiii<~own)

 

 

1a What kind of debts do
you have?

16av Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
individual primarily for a persona|, family, or household purpose."

as "incurred by an

§/m’o. Go to line
Yes. Go to line

16b.
‘|7.

1Sb. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

n No. Go to line
l:l Yes¢ Go to line

16c.
17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do

owe?

l:l No', l am not filing under Chapter 7. Go to line 18.

g Yes, l am Hling under Chapter 7. Do you estimate that after any exempt property is excluded and
expenses are paid that funds will be available to distribute to unsecured creditors?

?istrative
No

Cl Yes

/
§/‘|~49

l;| 1,000»5,000

 

you estimate that YOu El 50-99 ij 5,001-10.000
l:| 100-199 C| 10,001-25,000
El 290~999
$0-$50,000 El $1,000.001-$10 miiiion

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities

E] $50,001-$100,000
l:l 3100,001~5500,000
Cl $§00,001-$1 miiiion

$0-$50,000
El $50,001-$100,000

El $10.000,001-$50 million
E] 550,000,001-$100 miiiion
Cl $100,000,001»$500 miiiion

C| $1`000\001~$10 miiiion
ll $io.ooi).ooi~sso miiiion

 

C| 25,001~50,000
E] 50,001-100,000
m N|ore than 100`000

 

U $500,000.001-$1 billion
El $1,000‘000,001-$10 biiiion
Cl 510,000,000,001-$50 biiiion

[:l More than $50 billion

Cl $500_000,001-$1 hinton
E] $1.000,000.001-$10 oiiiion

 

f° b€'~’ l:| $100,001~5500.000 l:| $50,000,001-$100 minton El 310,000,000,001-$50 biiiioo
El $500.001-$1 miiiion Cl $100,000,001»$500 miiiion l:| More than 550 biiiton
l have examined this petition, and l declare under penalty of perjury that the information provided is true and
F°" Y°u correct.

Otlicia| Form 101

lfl have chosen to tile under Chapter 7, | am aware that l may proceed,
of title 11, United Stales Code. l understand the relielavai|ab|e under ea

under Chapter 7.

|f no attorney represents me and l did not
this document\ | have obtained and read t

if eligible, under Chapter 7, 11,12, or 13
ch chapter, and lchoose to proceed

pay or agree to pay someone who is not an attorney to help me mt out
he notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11_ United States Code, specified in this petition.

l understand making a
with a bankruptcy case

X

Signature of Debtor 1

Executed on \z
MM

Voluntary petition for individuals Filing for Bankruptcy

false statementl concealing property,

or obtaining money or property by fraud in connection

can result in lines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C.§§152, 1341. 151 . and 3571.

m X

 

/\<o lLQ\E>

l DD /YYYY

E)<ecuted on

\ Signature of Deblor 2

MM/ DD IY¥Y`\’

page 6

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Debtom \\ €C\ (`(’L L/\" `.\U*m Case number tii»incwni

i=irsi blame Miaoie iva/ne tim Name

 

¢… ., ». » _ .. ¢,~,o»~a.* o … ; »\~J;~... , di i.» '..~V-;.. … … .~.,.»=¢»= -,

 

l, the attorney for the debtor(s) named in this petition. declare that | have informed the debtor(s) about eligibility

F°r your au°rney‘ 'f you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

 

 

 

 

 

 

represented by one available under each chaptertor which the person is eligible | also certify that l have delivered to the debtor(s)
the notice required by 11 U'.S.C. § 342(b) nd, in a case in which § 707(b)(4)(D) applies, certify that | have no
|f yOU are not represented knowledge after an inquiry that the intorma `on in the schedules filed with the petition is incorrect
by an attorney, you do not _ '
need to tile this page.
x \ _ g Date
Signature of Attorney for Debtor \ q MM / DD /YYV¥
Prinled name
Firm name
Number Street
City Siate Z|P Code

Contact phone Emai| address

 

Bar number State

       

Ofi"icial Form 101 Voiuntary Petition for individuals Fi|ing for Bankruptcy page 7

C

Deblor 1 Ma§.('{ rth

Miaola Name

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to t"i|e this page.

Oft”icia| Form 101

x\¢d_~o`Q\s/w\w x

Se 6:19-bk-Ol457-KS.] DOC 1 Filed 03/07/19 Page 8 Of 46
diman Case number iiii<nowiii

 

LAS! Nam€

   

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully Because bankruptcy has long-term financial and legal
consequences you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technica|` and a mistake or inaction may affect your rights For examp|e, your case may be
dismissed because you did not file a required document pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee` UiS. trusteel bankruptcy administrator. or audit
firm if your case is selected for audit. iflhat happens, you could lose your right to file another
case, or you may lose protectionsl including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged |f you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge Can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case. such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfui, and compiete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to H|e without an attorney, the court expects you to follow the rules as if you had
hired an attorney The court will not treat you differently because you are filing for yourself To be
successfui, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with |ong~terrri nnanciai and legal
consequences'?

o 0
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete you could be fined or imprisoned?

El)ié

m Yes

§§/y/ou pay or agree to pay someone who is not an attorney to help you fii| out your bankruptcy forms'?
No

n Yes, Name of Person .
Attach Bankruptcy Petiti`on Preparer's Notice, Declaration, and .Si`gnature (Officiai Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney i
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if| do not properly handle the case

 

‘\

Signature of Deblor 1 Signature of Deblor 2
Date \.L/ `${ le \S Date
MM l DD /YYYY MM/ DD /YYV`Y
Conlact phone t §(t;.’) b w t " §` ,`i dol Conlact phone
Celi phone Ce|| phone

 

Emaii address LC 3 `\/\€(_;`L q D§C;G;,Oi ' Lr£"`{`{\ Email address

Voiuntary Petition for individuals Filing for Bankruptcy page 8

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Fill in this information to identify your case:
Deblor 1 Nedra B. Lyman
Flrst Name Middle Narne Last Name

Debtor 2
(SpOUSe, iffllir`lg) Flrsl Name Midd|e Name Last Name

 

United States Bankruplcy Courl for the: |V|idd|e Dlstrict of Flor'ida §

El Check innis is an
mknown) amended ming

Case number

 

 

Official Form lOGSum
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15

 

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules flrst; then complete the information on this fon'n. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Vaiue of what you own

j 1. Schedule A/B.' Properly (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................

' \
1b. Copy line 62, Tota| personal properly, from Schedule A/B ............................................................................................... $ g 555 l 00

lc. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ O\SSC_') l &D

Summarize Your Liabilities

$ 0.00

 

 

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Oflicia| Form 1060)

2a Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedu/e D ............ 5 ____O'OQ
3_ Schedu/e E/F: Creditors Who Have Unsecured Claims (Ochial Form lOGE/F) 0 D
$ ¢2,

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 66 of Schedu/e E/F ............................................

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedu/e E/F .......................................
+ s ii '7, §§ 45 - 63

Your total liabilities $ alz, cg §§ § - é»3

 

 

 

 

Summarize Your lncome and Expenses

4. Schedu/e l: Your/ncome (Official Form 106|)

Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ _~_1’_686£
5. Schedule J: Your Expenses (Ol’ricial Form 106.1) - t b
f Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ l t l 2 £;2. D §

Oflicial Form lOSSum Summary of Your Assets and Liabilities and Certain Statistica| information page 1 of 2

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Debtor 1 Ned re B~ Lyman Case number (irknawn)

First Narne Middle Name Last Name

 

mAnswer These Questions for Administrative and Statistical Records

;, 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
§ n No_ You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
: Yes

 

7. What kind of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose." 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

' 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofticial
Form 122A~1 Line 11; oR, Form 1223 Line 11; oR, Form 1220-1 Line 14. $ 1,686.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0'00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ O~OO
9c. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ 0'00
Qd. student roans. (copy line ef.) $ 0-00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO
priority claims. (Copy line 69.)
9f. Deth to pension or protit-sharing plans, and other similar debts. (Copy line 6b.) + $ 0.00
Qg. Total. Add lines 9a through 9f_ $ 0.00

 

 

 

 

Ol‘licial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information page 2 of 2

Case 6:19-bk-01457-KSJ DOC 1 Filed 03/07/19 Page 11 of 46

Fill in this information to identify your case and this filing:,

Nedra

Fisl Name Middle Name

Debtor 1

Debtor 2
(Spouse, if filing) rare Name Middie Nam¢

 

United States Bankruptcy Court for lhe: l\/lidd|e District of Florida

Case number

 

ill check innis is an
amended ming

 

 

Otiicial Form 106A/B
Schedule A/B: Property 1215

|n each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. lf two married people are filing together, both are equally
responsible for supplying correct information if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

mbescribe Each Residence, Building, Land, or other Rea| Estate You own or Have an lnterest ln

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

M No_ co to Pan 2.
cl Yes. Where is the property?

What ls the property? Check an that app|y‘ Do not deduct secured claims or exemptions Put
n Single-family horne the amount of any secured claims on Schedule D.

 

 

 

 

1_1_ ’ h d ' cl Dup|ex or multi_unit building Creditars Who Have Claims Secured by Pro er¢‘y.

Street address if availab|e, or other description _ _ v
m COndOmlnlle O\' COOpefafl\/e Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
l:l Land $ $
n investment property

v n Timeshare Describe the nature of your ownership
C'!v Siat€ ZlP COde n Oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

n Debtor1 only

County n Dethr 2 On|y

a Debtori and Debtor 2 only n Chec_k if thi§ is community property
(see instructions)

 

 

n At least one of the debtors and another
`Other information you wish to add about this item, such as local
property identification number:
lf you own or have more than one, list here:

- '>
What ls the property ' Check a" that app|y' Do not deduct secured claims or exemptions Put
m Sing|e~family home the amount of any secured claims on Schedule D:

 

 

 

 

 

1_2_ l _ d v n Dup|ex or mum_unit building Creditors Wha Have Claims Secured by Pro erty.

Street address if available, or other description _ _ _
L_-l COndOmlnlum Or OGOP€FHTW€ Current value of the Current value of the
m Manufactured or mobile home entire property? portion you own?
cl Land $ 3
D investment property

b m nmeshar Descrrbe the nature of your ownership
city State ZiP Code n e interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
n Debtori only
n Debtor 2 only

El Debtor 1 and Debtol’2 Orlly n Check if this is community property
n At least one of the debtors and another (SEE inSUUCinnS)

 

 

County

Other information you wish to add about this item, such as local
property identification number: _

Ofiicia| Form 106A/B Schedule A/B: Property page 1

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 12 of 46

Nedra

Flist Name

Debtor 1
Middie Name

1.3.

Last Name

 

Street address if available, or other description

 

 

 

Lyman

What is the property? Check all that apply.
n Single-family home

l:l Duplex or multi-unit building

n Condominium or cooperative

L:l Manufactured or mobile home

 

Case number (ifknowni

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Credl'tors Who Have Claims Secured by Pro erty.

Current value of the current value of the
entire property? portion you own?

 

 

 

m Land $ $
n investment property _
City 8th Z|P Code cl Timeshare _Descrlbe the nature of_ your ownership
n interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one,
n Debtor 1 only
County n Debtor 2 only
n Debtor 1 and Debtor 2 only n Che§k if this is community Property
El At least one of the debtors and another (See mstmct'°ns)
Other information you wish to add about this item, such as local
property identification number: _
24 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ...................................................................................... '~)

w Describe Your Vehicles

 

 

 

 

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives if you lease a vehiclel also report it on Schedule G.' Executory Contracts and Une ired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No

g Yes

3_1_ Make: Honda
Mode|: F't
Year: 2015

Approximate mileage: L

Other information:

 

 

 

 

if you own or have more than one, describe here:

3_2, Make:
l\/iodel:
Year:
Approximate mileage:

Other information:

 

 

 

 

Ofticial Form 106A/B

Who has an interest in the property? Check one,

E oebtori only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

m Debtor 1 only

m Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this is community property (see
instructions)

‘Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clai'ms Secured by Pro erty.

Current value of the Current value of the
entire property? portion you own?

$ 9000.00 $ 9000.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Pro erty.

Current value of the Current value of the
entire property? portion you own?

page 2

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 13 of 46

Debtm Nedra Lyman

First Name Middle Name Last Name

Case number (irknuwn)

 

31. interests in insurance policies
Examp/es: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter's insurance

mNo

Cl Yes. Name the insurance company

_ _ Company name: Beneiicia : Surrender or refund value:
of each policy and list its value ry

$

 

 

32. Any interest in property that is due you from someone who has died

if you are the benehciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

mNo

El Yes. Give specific information ..............

 

 

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exam les: Accidents, employment disputes, insurance ciaims, or rights to sue

mNo

n Yes. Describe each claim. .................... §

 

69

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

No
a Yes. Describe each claim.

 

35.Any financial assets you did not already list

mNo

[] Yes. Give specific information............ .,`

 

 

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... -) $

 

 

 

mbescribe Any Business-Reiated Property You Own or Have an lnterest ln. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
El No. co to Part 6.
ill Yes. soto line 38.

Current value of the
portion you own?

Do nol deduct secured claims

 

  

or exemptions
38.Accounts receivable or commissions you already earned
a No
n Yes. Describe.... l g
; ;$

 

39. Office equipment, furnishings, and supplies
Examples' Business-related computers software, modems, printers, copiers, fax machines, rugs, telephonesl desks, chairs, electronic devices

n No
n Yes. Describe.......§

1 s ""`_

 

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 14 of 46

Debtor 1 Nedra Lyman Case number (ifi<nown)

First Name Middie Name last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
n Yes. Describe.......§ li$
41. inventory
n No § 11
a Yes. Describe.......§ `$
, . _-`____
42. interests in partnerships or joint ventures
ij No
n Yes' Describe """" Name of entity: % of ownership:
. % $
o/o $
% $
43. Customer lists, mailing lists, or other compilations
n No
U Yes. Do your lists include personally identifiable information (as deined in 11 U.S.C. § 101(41A))?
m No
D Yes. Describe ........ §
§ l $
l ___`_
44.Any business-related property you did not already list
n No
n Yes. Give specific $
information `_~`-
$
$
$
$
$
45. Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here .......................................... ..... 9 "_

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an lnterest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
53 No. co to Part 7.
ij Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions

47. Farm animals
Exam les: Livestock, poultry, farm-raised fish

n No
n Ves ..........................

 

 

 

Ofiicial Form 106A/B Schedule AlB: Property page 9

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 15 of 46

mwa Nedra Lyman

First Name Middle Name Last Name

Case number (irknnwn)

 

48. Crops-either growing or harvested

UNo

n ¥es. Give specilic :‘
information .............

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
l:l No
El Yes ..........................

 

 

50.Farm and fishing supplies, chemicais, and feed

EI No
El Yes .......................... i

 

 

51 .Any farm- and commercial fishing-related property you did not already list
n No

El Yes. Give specific

information ._........f 1

 

 

52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................................... 9

 

 

mbescribe All Property You own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

 

 

 

 

 

 

m No
El Yes. Give specific $-`____
information ............
$
54. Add the dollar value of ali of your entries from Part 7. Write that number here ................................................................. 9 $_"_
-List the Totais of Each Part of this Form
55, Part 1: Total real estate, line 2 .............................................................................................................................................................. 9 $ O'OO

56. Part 2: Total vehicles, line 5 $ 9000.00

 

 

 

 

 

 

 

,Copy personal property total 9 + $ 9335~00

 

 

$ 9335.00

w

 

57. Part 3: Total personal and household items, line 15 $ 300‘00
58. Part 4: Total financial assets, line 36 $ 35'00-
_ . 0.00
59. Part 5. Total business-related property, line 45 $
60_ Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part 7: Total other property not iisted, line 54 + 3 0~00
62. Total personal property. Add lines 56 through 61 . .................... $ 9335'00:
63. Total of ali property on Schedule AlB. Add line 55 + line 62 ..........................................................................................
Official Form 106A/B Schedule AIB: Property

page 10

 

 

 

Case 6:19-bk-01457-KS.] DOC 1 Filed 03/07/19 Page 16 of 46

Fill in this information to identify your case:

Debtor 1 Nedra Lyman

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) Firsi mine Middie Name Lasr Name

 

United States Bankruptcy Court for the: Distn'ct Of

 

<;"akse number Cl check irihis is an
w .
< no ni amended filing

 

 

Officia| Form 106C
Schedule C: The Property You Ciaim as Exempt 04/16

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Olhciai Form 106A/B) as your source, list the property that you claim as exemptl if more
space is needed, ill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory iimit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempl:

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

cl You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
w You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one bo for each e em tion.
Schedule A/B
Brief .
description: Women s C|othes _ $300.00 L'_] $
Line from m 100% of fair market value, up to
Schedule A/B_- 11 any applicable statutory limit
Brief .
description Honda Fit 2015 _ $M_ n $
Une from m 100% of fair market valuel up to
Schedule A/B; l__1 any applicable statutory limit
Brief
description: Cash - $35'00 cl $
Line from m 100% oflfair market value, up to
Schedule A/B_~ 17 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases ii|ed on or after the date of adjustment.)
M No
Cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you hied this case?
n No
Cl ¥es

Ofncial Form 1060 Schedule C: The Property You Ciaim as Exempt page 1 of_Q~

Case 6:19-bk-01457-KS.] DOC 1 Filed 03/07/19 Page 17 of 46

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Nedra L man .
First Name Middle Name Last Nai'i\e y Case number ('fknow")
,m Additional Page
Brief description of the property and line Current value of the Amount of the exem t'on l ' ' ' '
on schedule A/B that lists this property portion you own p i you c aim Specific laws that allow exemption
Copy the value from Check only one bo for each e em tion
Schedule A/B
Bn`ef
description: - $ n $
Line from El 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: - $ n $
|_ine from El 100% of fair market value, up to
Schedule A/B: __ any applicable statutory limit
Brief
description: ~ $ n $
Line from n 100% of fair market value, up to
Schedule A/B_» '-_ any applicable statutory limit
Brief
description: $ n $
Une from f El 100% of fair market vaiue, up to
Schedule A/B; any applicable statutory limit
Brief
description: - $ m $
Une from n 100% of fair market value, up to
Schedu/e A/B; ___ any applicable statutory limit
Brief
description: § $ n $
Une from El 100% of fair market value, up to
Schedule A/B_- '_ any applicable statutory limit
Brief
description: - $ D $
Une from n 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: 1 $___ n $
|_ine from n 100% of fair market value, up to
Schedule A/B_~ __ any applicable statutory limit
Brief
description: - $ n $
Une from E] 100% of fair market value, up to
Schedule A/B; _' any applicable statutory limit
Brief
description: ~ $ m $
Une from n 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: - $.____ n $
Line from n 100% of fair market value, up to
Schedule A/B; ____ any applicable statutory limit
Brief
description: - $_______ n $
Line from El 100% affair market value, up to
Schedule A/B; _’_ any applicable statutory limit

 

Ott'icia| Form 1060 Schedule C: The Property You Claim as Exempt page 2 of D`_

Case 6:19-bk-01457-KS.] DOC 1 Filed 03/07/19 Page 18 of 46

  

Fill in this information to identify your case:

     

Debtor 1 Nedra Lyman

Flrst Name Middle Name Last Name

 
   

 

   
  

 

  
 

Debtor 2
(SpOUS€, if l`lllng) F'irst Name Ml'dd|e Name Last Name

 

    

United States Bankruptcy Court for the: Mldd|e DiSll'lCl Of F|Orida

 
  
  

Case number
l |f known)

 

Cl cheek iithie is an
amended filing

 
 

 

Oi"licia| Form 106D

 

Schedule D: Creditors Who Have Ciaims Secured by Property 1215

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space ls needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
M No. Check this box and submit this form to the court with your other schedules ¥ou have nothing else to report on this form.
m Yes. Fill in all of the information below.

 

m List Aii seemed claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ _ . Column Column B Column C
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim due of collatera| Unsecured
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. 00 not dedud me that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collaterai_ claim ifany
Describe the property that secures the claim: $ $ $
l Creditor’s Name j l
Number Street l y
As of the date you file, the claim is: Check all that apply.
m Contingent
Cl unliquidated
city state ziP code n Disputed
who owes the debt? Check One. Nature of iien. check ali that apply.
n DeblOl'1 0an m An agreement you made (such as mortgage or secured
n Debtor 2 only wl |Oan)
D Debtor 1 and Debtor 2 only cl Statutory lien (such as tax lien, mechanic's lien)
El At least one dr the debtors end another m Judgment lien from a lawsuit
cl Other (including a right to offset)
El check ir this claim relates to a
community debt
y Date debt was incurred Last 4 digits of account number_ __ ____ __
E] Describe the property that secures the claim: $ $ $
Creditoi’s Name § 4l
l z
Number Street § l
As of the date you file, the claim is: Check all that apply.
El Contingent
Cl unliquidated
city slate zii= code g Disputed
Who owes the debt? Check one. Nature of lien. Check ali thai appiy,
m Debt°r 1 On|Y a An agreement you made (such as mortgage or secured
El oehlorzoniy Carloan)
[| Debtom and Debtor 2 amy l:l Stati.ltory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgmem lien from a lawsuit
Cl other (including a right to drlset)
l_:l check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account num ber_ _ __ __
Add the dollar value of your entries in Column A on this page. Write that number here: ,$

 

Oflicial Form 1060 Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 19 of 46

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Nedra Lyman Case number (ifi<newnl
Flrst Name Middle Name Last Name
Additional Page C°'””.'" ' f -, t l “ C°"l'"l’ 5 . t »' C°"._'m" C
. . . . . _ Amount o claim a|ue o collateral Unseclired
After listing any entries on this page, number them beginning with 2.3, followed DO not deduct me y _that supports this portion
by 2'4’ and so orth‘ value _of oollateral.' Claim _ if any ' `
Describe the property that secures the claim: $ $ $
l Creditors Name 1
l Number Street l x
l As of the date you tile, the claim is: Check all that apply.
§ n Contingent
city state zlP code Cl unliquidated
Cl Disputed
Who owes the debt? Check one Nature of lien. Check all that apply.
m Deblor 1 0an m An agreement you made (such as mortgage or secured
l;] Debtor2 only mr|oan)
[;l Deblor 1 and Debtor 2 only n Statutory lien (such as tax |ien, mechanic’s lien)
n At least one of the debtors and another l:| Judgmenl llen from a lawsuit
C| other nneluding a right to dttset)
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number_ __ __ ___
|__I Describe the property that secures the claim: $ $ $
Creditol‘s Name l l t
l l
Number Street lg l
As of the date you file, the claim is: Check all that apply.
n Contingent
El unliquidated
City State ZlP Code m Disputed
Wh° owes the debt? Check One' Nature of lien. Check all that apply.
n Debtor 1 only a An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
l:l Debtor 1 and Deblor 2 0an n Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another [] Judgment lien from a lawsuit
. d. .
l;l Check if this claim relates to a m Other (mc|u mg a "ght to arisen `_`
community debt
Date debt was incurred Last 4 digits of account number_ _ ____
|__] Describe the property that secures the claim: $ $ $

 

 

Creditors Name

 

 

f
Number $treet l at
l l

 

 

 

As of the date you file, the claim is: Check all that apply
n Contingent
j City State ZlP Code n Un|l'quidat€d
" n Disputed
Who owes the debt? Check One. Nature of |ien. Check all that apply.
n Debtor 1 0an n An agreement you made (such as mortgage or secured
l;l Debtor 2 only car loan)
n Deblor 1 and Deblor 2 only cl Statutory lien (such as tax lien, mechanic‘s lien)
Cl At least one of the debtors and another n Judgmem lle" from 3 laWSUll
l;] Other (including a right to offset)
Cl Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number__ __ ___ _____

Add the dollar value of your entries in Column A on this page. Write that number here:

  

|f this is the last page of your form, add the dollar value totals from all pages.
..._.…. ,.e_\!llri.te_that,n,umber,hertt;

Ofticial Form 1 OGD Additional Page of Schedule D: Creditors Who Have Ciaims Secured by Property page _ of___

Case 6:19-bk-Ol457-KS.] DOC 1 Filed 03/07/19 Page 20 of 46

Debtor 1 Nedra Lyman Case number (irknown)

Fn'st Name Middle Name Last Name
m List Others to Be Notified for a Debt That You A|ready Listed

` Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

, agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part1, list the additional creditors here. lf you do not have additional persons to

l be notified for any debts in Part 1, do not fill out or submit this page.

|:l On which line in Part1 did you enter the creditor?

 

Name Last 4 digits of account number__

 

Number Street

 

 

City State ZlP Code

§ On which line in Part1 did you enter the creditor?

 

Name Last 4 digits of account number _

 

Number Street

 

 

City State ZlP Code

{:| Cn which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZlP Code

l: On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ __ _ _
Number Street
City State ZlP Code

m On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ __ ____ _
Number Street
City State ZlP Code

|:| 0n which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street

 

 

City State Z|P Code

Ofliclal Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page __ of__

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 21 of 46

Fill in this information to identify your case:

mwa Nedra Lyman

Firsl Name M|dd|e Name Last Name

Debtor 2
(Spouse, lf ti|ing) Flrst Name Mldale Name Lasl Name

 

United States Bankruptcy Court for lhe: Midd|e Distl’ict of Florida

 

 

 

 

C b El Check if this is an
(i?::o$vg>m er amended filing

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Ciaims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIOR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
Llst the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Officia| Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured c|alms that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of Your PR|OR|TY Unsecured C|alms

1. Do any creditors have priority unsecured claims against you?
9 No. colo Part 2.
cl Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. |f a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriortty amounts. As much as possib|e, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

2.1
Last 4 digits of account number __ _ __ __ $ 5 5
Priority Credlwr's Name
When was the debt lncurred?
Number Slree!
As of the date you file, the claim is: Check all that app|y\
city slale zll= code n C°"""'gem
_ El unliquidated
Who incurred the debt? Check one. n Disputed
Cl Debtor 1 only
El Debtor 2 only Type of PR|OR|TY unsecured c|a|m:
g Debi°H and Debt°r 2 °n|y n Domestic support obligations
At least one of the debtors and another n Taxes and certain other debts you owe the government
n Check 'f th's cla'm ls for a commumty debt n Ciaims for death or personal injury while you were
ls the claim subject to offset? '"t°"'°ated
n No n Other. Specify
n Yes
2'2 l Last 4 digits of account number _ __ _ __ $ $ 3
Priority Creditor‘s Name

 

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply
a Contingent

city size zll= code El unliquidated

Who incurred the debt? Check one. n Disputed

Cl Debtor 1 only

T e of PR|OR|TY unsecured claim:
l:l Debtor2 only yp

 

 

n Debtor 1 and Debtor 2 only n Domeslic support obligations

n At least one of the debtors and another cl Taxes and certain other debts you owe the government
cl Check if this claim is for a community debt n ;::;Yi;;;;,death or personal 'n]ury Wh'|e you were

ls the claim subject to offset? n Other. Specify

n No

Cl Yes

 

 

Ofl`lcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Ciaims page 1 of__

Case 6:19-bl<-01457-KS.] DOC
Nedra

First Name

Debtor 1 Lyman

Middle Name Last Name

m List Al| of Your NONPR|CR|TY Unsecured Ciaims

3. Do any creditors have nonprlority unsecured claims against you?

Yes

claims ml out the Cont|nuation Page of Part 2.

`4~1 l American Express

 

 

 

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Case number (irlmuwn)

[:l No. Vou have nothing to report in this part. Submit this form to the court with your other schedules

Last 4 digits of account number § l 9 1

 

4. List all of your nonprlority unsecured claims in the alphabetical order of the creditor who holds each claim. |f a creditor has more than one
nonprlority unsecured claim. list the creditor separately for each claim. For each claim listed, identi

fy what type of claim it is. Do riot list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3_lf you have more than three nonprlority unsecured

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name _ ___ $____M
p0 Box 981537 When was the debt incurred? 07/19/05
Number Street
E| Paso TX 79998
city slate zlP code As of the date you file, the claim is: Check all that app|y.
n Contingenl
Who incurred the debt? Check one. E] unliquidated
m Debtor1 only cl Disputed
n Debtor 2 only
m Debtor1 and Debtor 2 only Type of NONPR|OR|TV unsecured claim:
n At least one of the debtors and another n Studem loans
n check ll lhis claim is for a community debt n Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the Cla|m su\3"1'9¢¥t "° °ffset? cl Debts to pension or profit-sharing plans, and other similar debts
m No El other. specify
Cl Yes
4'2 | Bal'ik Of AmeriCa Last 4 digits of account number _5 l _g _1 $ 22030
' N°npri°rify Creditors Name When was the debt incurred? 10/17/88
: 0 DE50190307
Number Street
Newark DE 19714 As of the date you file, the claim is: Check all that apply.
l City State ZlP Code n Contingenl
f who incurred the debra check one. 5 Unliquidaled
§ m Debtor 1 only n D'Sputed
§ n Debtor2 only _
l n mwa and Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
n At least one of the debtors and another n Student loans
i _ _ _ _ n Ob|igations arising out of a separation agreement or divorce
l cl Check lf this claim ls for a community debt that you did nol report as prlorlly claims
§ ls the claim subject to offset? n Debts to pension or profit-sharing plansl and other similar debts
` m No El Other. Specify
l;l Yes
`1| Chase Card Last4 digits of account number _5 _7 _Q _1_ $ 3485
Nonpriorlty Creditor's Name _ 03/17/16
When was the debt incurred?
301 N. Walnut St., FL 09
Number Street
V\hlmington DE 19801-3935 . .
City Sme ZlP Code As of the date you filel the claim ls. Check all that apply

Who incurred the debt? Check one,

§ a Debtor 1 only

m Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim ls for a community debt

§ ls the claim subject to offset?
; m No
n Yes

Offlcia| Form 106E/F

n Contingenl
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

m Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
El other, specify

 

Schedule E/F: Creditors Who Have Unsecured Ciaims

page _ of _

 

Case 6:19-bi<-Ol457-KS.] Doc 1 Filed 03/07/19 Page 23 of 46

Nedra

First Name

Debtor 1 Lyman

Midd|e Name Last Name

Case number (iri<newn)

mYour NONPR|OR|TY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

4'4- L4d"isr b5791
Discover Bank ast igi o account num er _ ___ __ _ $ 7100
Nonpriority Creditor's Name _ 08/21 /1 5
PO Box 15316 0 When was the debt incurred?

N“"""" S"°°‘ As fih d t f'i th i ' i - on k ii in i i
\Mimington DE 19850_5316 o e aeyou ie, ecaim s. ec a a appy.
ciiy siaie ziP code l] coniingeni
Cl unliquidated
Who incurred the debt? Check one. [;| Disputed
n Debtor1 only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Studeni loans
At least one °f the debtors and another E] Ob|igations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you md not report as pnonty c|élms . .
L_.l Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? l:l Other. Specify
§ No
n Yes

4.5

l Sun.i.rust Last 4 digits of account number l _7_ l 1_ $ 9725
Nonpriority Creditor's Name 09/24/1 4

When was the debt incurred?
1001 Semmes Ave
Number Street
- , h ' ' : l .
R|Chmond VA 23224 As of the date you file t e claim is Check all that appy
City Staie ziP code |:I Contingent
n Un|iquidated
Who incurred the debt? Check one. m Dispuied
m Debtor1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only m Studeni maris
m At least °"e ofthe debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d|d not report as pnomy cl?|ms . .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? |;l other. Specify
g No
cl Yes
'6 5 7 9 1 $ 2002
Sun-i-rust Bankcard Last 4 digits of account number _ ____ ___ _
Nonpriority Creditors Name
. Whe as the debt incurred? 03/28/07
7455 Chancel|or Drive MC FL " w
Number Street
f' , h ' ` : k || .
Or|ando FL 32809 As of the date you lie t e claim is Chec a that apply
ciiy State ZlP Code n Contingent
El unliquidated
Who incurred the debt? Check one. m Dispuied
a Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only n Siudem ioans
n At least one °f me debtors and an°the' n Obligations arising out of a separation agreement or divorce that

z n Check if this claim is for a community debt you d'd not report as pn°my c|:d|ms . .

n Deth to pension or profit-sharing plans. and other similar debts
ls the claim subject to offset? El other, Specify
m No
cl Yes

 

Offlciai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Ciaims

page _ of _

 

Debtor 1

Case 6:19-bi<-Ol457-KS.] Doc 1 Filed 03/07/19 Page 24 of 46

Nedra

First Name

Lyman

Middle Name Last Name

Case number ii/l<newn)

mm NONPR|OR|TY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

Totei elein{

   
   

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

n Debtor 1 only

cl Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

El unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Ob|igations arising out cfa separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Ciaims

4.7 . .
SunTrust Credit Card Services '-as“ d'g"S °fa°°°""* number 2- i l _8_ 3 1660.63
Nonpriority Creditor‘s Name _ 04/1 3/1 8
Defau|t Management - P O Box 621629 Wh°" was the debt '"°“"°d? -_--
Number Street . . _
Oriando FL 32862_1926 As of the date you file, the claim ls. Check all that app|y.
city state zlP code C| Contingeni
Cl unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtor 2 only n Student loans
§ At least one of the deb‘°rs and another m Ob|igations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as pnomy c|_a'ms _ §
cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? i:| other_ Specify
n No
n Yes
_l Last 4 digits of account number _ _ _ _ $
Nonpn`ority Creditor's Name
When was the debt incurred?
N b St t
um er rea As of the date you file, the claim is: Check all that apply.
city state zlP code C] Contingent
m Un|iquidated
Who incurred the debt? Check one. n Disputed
cl Debtor 1 only
ij Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Studeni i°ans
At least °n° °f the debt°rs and an°'her n Ob|igations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pnomy c|_a|ms _ ,
n Deth to pension or profit-sharing plansl and other similar debts
is the claim subject to offset? i;| Other_ Spe¢ify
n No
n Ves
._J . . $
Last 4 digits of account number _ _ _ _
Nonpriority Creditors Name
When was the debt incurred?
N b Si t
um er fee As of the date you file, the claim is: Check all that apply.
City State ZlP Code n Contingent

page _ of _

 

Debtor 1

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Nedra

Firsi Name Middle Name Last Name

Lyman

Case number (irimown)

mist Others to Be Notified About a Debt That You Already Listed

l

5. Use this page only lf you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
l example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

§ 2, then list the collection agency here. Similarly,
§ additional creditors here. if you do not have additi

 

 

 

 

if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
ona| persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): m Part 1: Creditors with Priority Unsecured Ciaims
Numb€' S"ee' Cl Part 2: Creditors with Nonpriority Unsecured Ciaims
Last 4 digits of account number _ _ _
city state zlP code '_
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
Num°°' S"e°‘ El Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number ___ _ __
City State Z|P Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): n Part 1: Creditors with Priority Unsecured Ciaims
Numbe' S"ee‘ Cl Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number _ _ __
w City~ $tate ZlP Code y v _v b §
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
Number S"ee‘ Cl Part 2; Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number __ _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
Numb°" S"e°‘ ij Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number__ ___ __ _
city stare zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C] Part 1: Creditors with Priority Unsecured Ciaims
Number 5"°€' Cl Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number _ _ _
City State ZlP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Ciaims
Number Stree! Cl Part 2: Creditors with Nonpriority Unsecured
Ciaims
City mate zlP code Last 4 digits of account number__ _ _

 

Ofticial Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

page _ of __

 

m Add the Amounts for Eac_h Type of Unsecured Ciaim

§

l

 

Offlcial Form 106E/F

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Debloii Nedra Lyman

First Name Middle Name Last Name

Case number (irin¢wii>

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

6a Domestic support obligations

Total claims
from Paru 6b. Taxes and certain other debts you owe the
government
60. Ciaims for death or personal injury while you were
intoxicated
6d. Other. Add all other priority unsecured claims.
Write that amount here.
Ge. Total. Add lines 6a through 6d.
Total claims 6f. Student loans
from Part 2

69. Ob|igations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonprlority unsecured claims.
Write that amount here.

6j. Tota|. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

69.

6h.

6i.

ej.

 

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
5 0.00
Total claim
$ 0.00
3 0.00

 

3 0.00

+ $ 0.00

 

 

 

 

$ 0.00

 

 

 

Schedule E/F: Creditors Who Have Unsecured Ciaims

page _ of _

 

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 27 of 46

   

Fill in this information to identify your case:

    

Nedra Lyman

First Name Mlddle Name Last Name

 
 

Debtor

 
 

 

    

 

   
  

Debtor 2
(SpOUSe lf Eling) First Name Mlddie Name Last Name

    
  

 

 

  
 

united estes Bankrupicy court for inez N|idd|e District of Florida

 
 

Case number
(if known)

 

El Check ifthis is an
amended H|ing

 
 

 

Olficial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 1215

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, till it out, number the en'tries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
g No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this form.
g Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule B.' Pro erty (Oft'icial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZlP Code

2.2

 

Name

 

Number Street

 

,../V_C_lt_¥, , , . 1 1 1_ St?i?, ,§'P..Q°d€... ,,
2.3 '

 

Name

 

Number Street

 

C'fv , . '… 1 , . . §f§l§.w. ,_ Zl.§".,§@,ds _
'2.4

 

 

Name

 

Number Street

 

, C"V _. 1 , , ,,1 . . Sf?£e ..1Z,'P_,995!§111
2.5

 

’ Name

 

Number Street

 

city state zlP code

Ofilcial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _/l-_-»

Case 6219-bk-Ol457-KS.] DOC 1 Filed 03/07/19

Fill in this information to identify your case:

Nedra

First Name

Lyman

Last Name

Debtor 1
Mil:ld|e Name

Debtor 2
(Spouse, if nling) Flrsl Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Mlddl€ DlSl|'le Of Florida

Case number
( if known)

 

 

 

Oflicial Form 106H
Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as

Page 28 of 46

El Check ir this is an
amended filing

1215

possib|e. if two married people

are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page, fill lt out,

and number the entries in the boxes on the ieft. Attach the Additional Page to this page. On
case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)

m No
El Yes
2. Within the last 8 years,

the top of any Additional Pages, write your name and

have you lived in a community property state or territory? (Communily ro erty states and territories include

Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Pueito Rico, Texaisl Washington, and Wisconsin.)

El No. co id line 3.
El Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
El No

l:l Yes. in which community state or territory did you live?

 

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

. Fill in the name and current address of that person.

` 3. ln Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Ofticial Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D,

Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor

 

 

 

 

 

 

Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

l:l Schedule D, line

 

 

 

 

Name
Cl Schedule E/F, line
Number S"FE* Cl Schedule G, line
1191*>'11 11 11 1111_ _111111111111111311§!'?11_1.1 111..1111.11111 §!E§RC!§.1 11111_111_11 11,_1,___11111111_1.1_
Ei schedule o, line
Name __
Cl Schedule E/F, line
Number Street El schedule G, line
11§¥¥¥ slate zlP code v 7 j
_ Cl Schedule D, line
Name __
Ci schedule E/l=, line
Number S"ee' m Schedule G, line
1_CY‘Y11 1 1 1. 1 1 1 1 _11_§15.*1€.11 ZlFC°d§,

 

Offlcial Form 106H

Schedule H: Your Codebtors

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Fill in this information to identify your case:

 

 

 

Debtor1 Nedra Lyman
FliSt Name Midd|e Name Last Name

Debtor 2

(SPOUSB, if illl'\g) First Name Middle Name Last Name

United States Banki'uptcy Court for the: Mlddl€ DlSlZl'lC'( Of Florida

ia:e nu)mber Check if fhlS iSI
rian
El An amended filing
Cl A supplement showing postpetition chapter 13
income as of the following date:

OfflClal FOi'm 106| m~YY_Y\/_
Schedule l: Your income 1215

Be as complete and accurate as possible if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

‘ Describe Emp|oyment

 

 

l. Fill in your employment

 

 

 

 

 

 

 

information Debtor 1 Debtor 2 or non-filing spouse
lf you have more than one job,
attach a se arate page with
informationpabout additional Emp|oyment status Cl Emp|oyed a Emp|oyed
employers. w Not employed El Not employed
include part-time, seasonal, or
self-employed work.
Occupation Unemployed
Occupation may include student
or homemaker, if it applies
Emp|oyer’s name
Emp|oyer’s address
Number Street Number Street
City State ZlP Code City State ZlP Code

How long employed there?

m Give Details About Monthly lncome

 

Estimate monthly income as of the date you file this fonn. lf you have nothing to report for any linel write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. if you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

deductions). if not paid monthly, calculate what the monthly wage would be. 2. $ 0_00 $
3. Estimate and list monthly overtime pay. 3_ + $ 0.00 + $
4. Calculate gross income. Add line 2 + line 3. 4, $ 0.00 $

 

 

 

 

 

Ofticial Form 106| Schedule i: Your income page 1

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11,

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Nedra Lyman Case number (irknowri)
First Name Middie Name Last Name
For Debtor ‘l For Debtor 2 or
non-filing spouse
Copy line 4 here ............................................................................................... -) 4. $ O-OO $
5. List all payroll deductions:
5a Tax, Medicare, and social security deductions 5a $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. o|untary contributions for retirement plans 5c. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5c. insurance 53_ $ 0.00 $
5f. Domestic support obligations 5f. $ 0~00 $
59. Union dues 59. $ 0’00 $
5h. Other deductions. Specify: 5h. + $ 0.00 + $
e. Add the payroll deductions Add lines 5a + 5b + so + 5d + se +5f + 59 + 5h. 6. $ 0.00 5
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0-00 $
8. List ali other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each properly and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 00 $
monthly net income 8a. _~_'_
8b. interest and dividends 3b. 3 0.00 $
8c. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support. maintenance, divorce $ 0_00 $
settlement and property settlement Sc. -_~_
Bd. Unemployment compensation Sd. $ , 0~00_ $
ae. social security ae_ $ if l§§ - 09 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplementai
Nutn`tion Assistance Program) or housing subsidies
Specify: 8f. $__M $
89. Pension or retirement income Bg. $ 0.00 $
Bh. Other monthly income. Specify: Sh. + $ 0.00 + $
e. Add all other income Add lines aa + 8b + 8c + ad + se + ar +ag + an_ 9. $ iri%is'§o§.) $
10. Calculate monthly income. Add line 7 + line 9. \r?§b:__ + _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse 10. $-__ $ ° $

 

State all other regular contributions to the expenses that you list in Schedule J.

include contributions from arl unmarried partner, members of your household, your dependents your roommates, and other

friends or reiatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

11_+ $ 0.00

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Cen‘ain Statistica/ /nformation, if it applies 12.

13. Do you expect an increase or decrease within the year after you file this form?

No.

 

$t[i%ei-@©

 

 

Com bined
monthly income

 

n Yes. Explain:

 

 

Oflicial Form 106|

Schedule l: Your income

page 2

 

 

 

Case 6:19-bl<-01457-KS.] Doc 1

Fill in this information to identify your case: .

Debtor1 Ned ra Lyman

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Flrst Name Middle Name Last Name

Debtor 2

 

(Spouse, if finng) Firsi Name Middle Name test Name

united states eanl<rupicy court for inez Midd|e Distridt of Florida

Case number
(if known)

 

 

 

Ofliciai Form 106J
Schedule J: Your Expenses

 

Check if this is:

Ei An amended filing

m A supplement showing postpetition chapter 13
expenses as of the following date:

MM/DD/YYYY

12 15

 

Be as complete and accurate as possibie. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m Describe Your Household

 

1. is this a joint case?

lZ No. soto line 2.
n Yes. Does Debtor 2 live in a separate househoid?

 

m No
n ¥es. Debtor 2 must tile Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2, Do you have dependents? § No
Do not list Debtor 1 and l:l Yes. Fill out this information for
Debtor 2. each dependent ....................
Do not stale the dependentsl
names.
3. Do your expenses include 5a No

expenses of people other than n
. ____),'_erse!!an<! ygvz_<!§l>,el;¢isnt§? , _,l'$t‘i,,_

m Estimate ¥our Ongoing Month|y Expenses

Dependent's relationship to
Debtor 1 or Debtor 2

Dependent’s Does dependent live
age with you?

 

UNO

 

Cl Yes
n No

 

l:l Yes
n No

 

i:] Yes
m No

 

m Yes
El No

 

n Yes

 

Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and till in the

applicable date.

include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Ol'ficial Form 106i.)

4, The rental or home ownership expenses for your residence. include first mortgage payments and

any rent for the ground or lot.

if not included in line 4:

4a. Reai estate taxes

4b. Property, homeownesz or renter’s insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner association or condominium dues

Ott`lcial Form 106J Schedule J: Your Expenses

4a
4b.
4c.
4d.

our expenses
u____....___________

$ 4 805.00

66

 

21,00
30.00

€H€B

ll

page 1

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Debtor 1 Ned ra Lyman

First Name Middie Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

16.

17.

19.

20.

Official Form 106J

Sa. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, internetl satellite, and cable sen/lees

6d. Other. Specify:

 

. Food and housekeeping supplies
. Chi|dcare and children’s education costs

. C|othing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Hea|th insurance
15c. Vehicie insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Case number (irlrriownl

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule l, Your Income (Officia| Form 106|).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included irl lines 4 or 5 of this form or on Schedule I: Your Income.

20a Mortgages on other property

20b. Reai estate taxes

20c. Property, homeowners or renter's insurance
20d. Maintenance, repair, and upkeep expenses

zoe. Homeowner’s association or condominium dues

Schedule J: Your Expenses

cn
.m

6b.
6c.

6d.

12.

13.

14.

15a.
15b.
15c.

15d.

16.

173.
17b.
17(:.

17d.

18.

19.

20a.
20b.
206.
20d.
20e.

 

 

 

OL|F expenses

s

5 100.00
$ 50.00
s 135.00
$

$ 350.00
ii

$ 10.00
$ 15.00
s 50.00

$ 100.00
$ 20_00

 

 

66

 

<H

 

90.00

69$

 

ill

fw

page 2

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Debtor 1 Nedra Lyman Case number wkr»own)
Frrst Name Middle Name Last Name
21. Other. Specify: 21. +$
___________
22. Calculate your monthly expenses
22a Add lines 4 through 21. 22a $ 1776.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiicial Form 106J-2 22b. $ g
22c. Add line 22a and 22b. The result is your monthly expenses 22c. $ 1776,00 §
23. Calculate your monthly net income. 00
23a Copy line 12 (your combined monthly income) from Scheduie I. 23a $`Hl&
23b. Copy your monthly expenses from line 22c above. 23b. $ 1776.00
230. Subtract your monthly expenses from your monthly income. ( a @)
The result is your montth net income. 23c. $____`-__

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you me this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

l;] No.
M Yes.

Explain here

_"l"`e’xpect'rh'y“rent'to'incre`ase andmy medicalexpensé§"to"increa"s“e" ' ' "

 

thcial Form 106.}

Schedule J: Your Expenses

page 3

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 34 of 46

Fill in this information to identity your case:

Deblor 1 \“ mm might mck q

tim Nnme Lasl Name

Deblor 2

(Spouse. ll illing] F"si Name Micdi= Name Last Name

United Staies Bankruptcy Court lor the: M t dd lC»DiS!lin Of E l 12 f_ \ ch

Case number
(i¢ known)

 

 

iii check inns is an
amended Gling

 

 

thcia| Form 106Dec
Dec|aration About an lndividua| Debtor’s Schedules ms

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 1B U.S.C. §§ 152,1341,1519, and 3571.

- Sign Below

you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
No

m Yes. Name ol person . Attach Bankruptcy Pefition Preparer's Notice. Declarat)`on, and

Signature (Oft`lcial Form 119).

Under penalty ot perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct

)<\*\»_QS`>`Q_‘Q,_!K`QN\ x

 

Signature of Debtor 1 \ Signature of Debtor 2
\‘z/\ ' \

Date b l Lo % Date
MM/ DD l ¥YYY MM/ DD i YYYY

Of‘l`lcia| Form 106Dec Declaration About an individual Debtor’s Schedules

Case 6:19-bl<-01457-KS.] DOC 1 Filed 03/07/19 Page 35 of 46

 

 

 

Debtor 1 B LVm 3 n
First Name Mlddie Name Last Name

Debtor 2

(Spouse. if nlirlg) nrsi Name ~ Mlanlle Name Lasi Name

United Staies Bankruptcy Court for the: \\'\; O‘J>i~i€/ District of YL_/ \Oi’~t (j.{,`£_/

Case number

rlikr»own) Qi Check if this is an
amended illan

 

 

Oiiiclai Form 107
Stater'nent ot Financiia Aiiaii‘s tea individuais F§Eing tier Ban§si’uptcy cans

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Befolre

 

 

1. What is your current marital status?

n Married
-"Not married l

2_ Durlng the last 3 years, have you lived anywhere other than where you live now?
i:i/\lo

Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1; Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 m Sar.le as Debtor1

H?Oi 0 Di,i.i"lrLiB(ii€/ From q };i/Oi L’i From
Number Street ` Number Street _

1301 gm TO ‘ij,:ioit, 10
Dr»itomol@»d» et sells

 

 

 

 

 

 

 

 

 

 

 

City \_) State ZlP Code City State ZlP Code
n Same as Debtor1 n Sarrle as Debtor1
From From
Number Street Number Street
TO `|'Q
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse,or legal equivalent in a community property state or territory? (Communiiy property
states and territories include Arizona, Ca|i'fornia, idaho, i_ouisiana, Nevada, NeW l\/lexlco, Puerto Rico, Texas, Washington, and Wisconsin.)

m No
Yes. Make sure you i'lll out Schedule H: Your Codebtors (Ofi`lcial Form 106l-l).

 

Exp£ain the Sc)urces of Your income

ti

thciai Form 107 Statement of Firlancial Affairs for individuals Fillng for Bankruptcy page 1

 

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Nedra ` B- Lyman Case number iirknown>

Firs\ Name M\ddie Name Last Name

Debtor 1

List ©er'ltalin Paymeii‘its You iiiiaole Bieiiolr¢e You Filie~d for Balmkrulptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
i\|o. l\leither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

No. co m line 7.

i;i Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic Support obligations such as
child support and alimony. A|so, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

Yes. Debt/or1 or Debtor 2 or both have primarily consumer debts.
Du `i'ig the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 Or more?

i:i No. Go to line 7.

g Yes. List below each creditor to Whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony_ Aiso, do not include payments to an attorney for this bankruptcy case.

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
s is ij
Mort
Creditor‘s Name gage
n Car

ij Credit card

 

Number Street
ij Loan repayment

 

a Supp|iers or vendors

 

 

 

city slaie zlP code m Other
$ $ m i\/|ortgage
Creditor‘s Name
U Car

n Credit card

 

Number Street
n Loan repayment

 

n Su pp|iers or vendors

 

 

 

City State zlP code E] Other
$ $ n lvlorigage
Creditor's Name
g Car
m Credit card

 

Number Street
i;i Loan repayment

 

 

n Suppll'ers or vendors
n Other

 

City State ZlP Code

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Debtor1 Nenra

B. Lyman

 

Firsl Name

Last Name

Case 6:19-bk-Ol457-KS.] DOC 1 Filed 03/07/19 Page 37 of 46

Case number (irknawn)

 

 

7, Within ’i year before you r”lled for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations oi which you are an oificer, director, person in control, or owner of 20% or more of their voting secunties; and any managing
agenb including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
suc;/l:i as child support and alimony.

g :No

Yes. List all payments to an insider.

Dates of
payment

 

insiders Name

 

Number Street

 

 

City

State ZIP Code

 

|nsider’s Name

 

Number Street

 

 

City

State ZlP Code

Total amount Amount you still Reascin for this payment
paid owe

8_ Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

include payments on debts guaranteed or cosigned by an insider.

,,,
-No

a Yes. List all payments that benefited an insider.

Dates of
payment

 

|nsider`s Name

 

Number Street

 

 

City

State ZlP Code

 

 

lnsider‘s Name

 

Number Street

 

 

Cny

Oificial Form 107

State ZlP Code

Total amount Amount you still Reason for this payment

aid owe - ,
'° ..ln_sl&'sie creditors name

Statement of Financial Aitairs for individuals Filing for Bankruptcy page 4

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Debtor 1 Nedra z B' Lyman Case number (irknown)

Firs\ Name Middie Name Last Name

  

identity Legal Actions, Repossiessioinis, and Forei:losuires

 

9. Within 1 year before you filed for bankruptcy, virere you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modific:;ti<).':s,
and contract disputes

No
@ Yes. Fiii in the deiaiis_

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Couri Name g Pending
g On appeal
Number Street g COHC|Uded
Case number __~___
City State ZlP Code
Case title ' Court Name m Pending
m On appeal
Number Street m Concluded
Case number
City State ZlP Code ¢

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed garnished, attached, seized, or levied?
Cl;£eck all that apply and ill in the details below.

No. co to line 11.
a Yes. Fill in the information below.

Describe the property Date Vaiue of the property

 

Creditofs Name

 

Number Street Explain what happened

CI Property was repossessed

 

m Property was foreclosed
n Property was garnished

 

city siaie zlP code L_.l Property was attached seized or levied

Describe the property Date Value of the property

 

Creditor‘s Name

 

Number Street
Explain what happened

Property Was repossessed

 

Property was foreclosed
Property was garnished

 

city size ziP code

'UUCJD

Property was attached seized, or levied

Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Banl<ruptcy page 5

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Debtor1 Nedra v B- Lyman Case number rirknown)

FlrstName Middie Name Last Name

11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

No
L__l Yes. Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor`s Name nw f m n n m >
$
Number Street
city State ZlP Code Last 4 digits of account number: XXXX~

12. With/in 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

No
L_.] Yes

List Certain Gifts and Contributions

13,V\;itkhin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
ill No
m Yes. Fill in the details for each gii"t.

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
. $
Person to Whom You Gave the Glft
$
Number Street
City State ZlP Code
Person‘s relationship to you
Gifts with a total value of more than $500 Describe the gifts Dates you gave Vaiue
per person v _ _ _ 7 _ the gifts
. $
Person to Whom You Gave the C`-ilft
$“__

 

 

Number Street

 

City State ZlP Code

Person's relationship to you

O‘i'flcial Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankl'uptcy page 5

Case 6:19-bk-Ol457-KS.] DOC 1 Filed 03/07/19 Page 40 of 46

Debtor ‘l Ned re ' B~ Lyman Case number (irknown)

l~`llsl Narne Midd\e Name last Name

14_Withi'n 2 years before you filed for bankruptcy, did you give any gifts or contributions With a total value of more than $600 to any charity?

@No

ii Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities Describe what you contributed Date you Vaiue
that total more than 5600 ~ contributed

 

 

Charily's Name

 

 

 

Number Street

 

City State Z|F Code

List Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, tire, other
disaster, or gambling?

‘No

El Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property
how the loss occurred _ _ _ l v loss lost
|nclude die amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property,
$`

List Certain Payments or Trar\sfers

 

15_ Within ‘l year before you tiled for ban kruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you/consulted about seeking bankruptcy or preparing a bankruptcy petition?
|nclude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

EiNo

Cl Yes. Fill in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid . . , . . , . , ,. .,_.. made \
z ` Number Street $
l
5

 

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, l‘lNotYou

Ot`l`lcia| Form 107 Statement of Financial Atfairs for lnclividuals Filing for Bankruptcy page 7

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Debtor1 Nedra y B~ Lyman Case number (if/mmi

Firsi Name Middle Name Last Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paicl

 

Number Street

 

 

city state zlP code . t ,

 

Email or websile address

 

Person Who Made the Payment, if Noi You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

: No
i;i Yes. Fl|| in the details

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
‘ transfer was
j _ made
Person Who Was Paid
Number Street $
$

 

 

city state zchude 7 7 ib :

v 18, Within 2 years before you tiled for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
lnclude both outright transfers and transfers made as Security (such as the granting of a security interest or mortgage on your property)_

not include gifts and transfers that you have already listed on this statement
f \NO
l__.l Yes. Fill in the detaiis.

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made
Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person‘s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person’s relationship to you

Offlcial Form 107 Staternent of Financial Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 Nedra t B~ Lyman Case number (irl<nown)

Firs\ Name l»/licldle Name Last Nsme

19 Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
ar/a benenciary? (These are often called asset- -protectr'on devices)

jose

g Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

 

Name of trust

 

 

 

List Certaiin Financial Accouints, lnstruments, Safe Deposit Boxes, and Storage limits

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

l closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares' in banks, credit unions,

brokerage houses, pension funds, cooperatives, associationsl and other financial institutions.
\

I.
;RNO

C.l Yes. Fill in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
§ instrument closed, sold, moved, closing or transfer
or transferred
_, . - v t , . . _
Name of Financial |nstitution l _
XXXX- e/ `€Ckms $
l , Savings

Number Street
m Money market

 

 

 

 

i ij Brokerage
" City a mate Lir' code ' m Other
XXXX- i:] checking 5
Name of Financia| institution __
n Savings
Number street t n Money market
m Brokerage
i m Other
City State ZlF Code

/‘
21 Do you now have, or did you have within 1 year before youi filed for bankruptcy, any safe deposit box or other depository for

s curities, cash, or other valuables?

  

' .. ‘(es. Fill in the details.

 

 

 

 

 

 

j Who else had access to it? Describe the contents Do you still
have it?
5 i:] No
‘ Name of Financia| lnstitution Name m YES
Number street Number Street

city state zlP code ’

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

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Debtor1 Nedra k B- Lyman Case number (ir)<mwn)

Firsl Name Midd|e Name Last Name

22. li‘a“\//e you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

 

 

f _d No
5 Yes. Fill in the detaiis.
» Who else has or had access to it'? Describe the contents Do you stili
w _¢ w _ _… have it?
i 1 g No
§ N ofStora F cil' Na
ama ge a ity me v yes
Number Street Number Street

 

CityState ZlP Code

 

City State ZlP Code

identify Property You Hold or €;ont:roi for Someone Else

 

23. Doyou hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
`\pi:[/hold in trust for someone.
No
;'%Yes. Fiii in the details
Where is the property? Describe the property Vaiue

 

Owner's Name $

 

Number Street

 

Number Street

 

 

 

City State ZlP Code

 

City State ZlP Code

   

Give Details About Environmeintal information

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

E:”r

i;- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

 

\
/- NO
g Yes. Fill in the details.
Governmental unit Environmental |aw, if you know it Date of notice
Name of site Govemmenbl unit
Number Street Number Street
City State ZlP Code

 

 

City State ZlP Code

O'i'ficial Form 107 Statement of Financial Affairs for lndividuals Fiting for Bant<ruptcy page 10

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N€dl'$ ‘ B- Lyman Case number [iv‘knawn)

Fiisl Name Mvdd|e Name Last Name

 

Debtor 1

25. Have§ou notified any governmental unit of any release of hazardous material?

\`.No

ill Yes. Fiii in tha dataiis.

 

 

 

 

 

 

Governmental unit t Environrnental law, if you know it Date of notice
i Name of site Govemmental unit 1
l l
l “__»` _ “_____" *H_
§ Number Street Number Street
l
1 city state zlP code

 

City State ZlP Code

a

1

26. Ha\§e' you been a party in any judicial or administrative proceeding under any environmental law'? include settlements and orders.

f
No
5 \»
@Yes. Fill in the details.
Status of the

 

 

 

 

 

Court or agency Nature of the case
case
Case title m
Court Name Pendmg
` 0 On appeal
Number Street i;| Concluded
Case number city state zii= code

Give Details Ahout Your Business or Connections to Any Business

 

27_ Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
Cl A partner in a partnership
U/An officer, director, or managing executive of a corporation

/.- An owner of at least 5% of the voting or equity securities of a corporation

\ f
j.>No. None of the above applies. Go to Part12.
Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business » Emp|oyer ldenti'l"ication number

Do not include Social Security number or lTlN.

 

Business Name

ElN: ~

 

Number Street _ _ . a …__,_ ___, ,,, ,1,, , , __ _
Name of accountant or bookkeeper Dates business existed

 

From To

 

City State ZlP Code v 7 7 __ j

Describe the nature of the business Employer ldentir”ication number
Do not include Social Security number or lTlN.

 

Business Name

’ ElN: ~

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

§ From To

 

City State ZlP Code

Official Form 107 Staternent of Financial Affairs for individuals Filing for Bankruptcy page 11

 

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Deblor 1 Case number ;iii<mwni
Firsl Name Middl: Name LaSl Name

 

Describe the nature of the business Emp|oyer ldenhnca"°n number
Do not include Soc|al Security number or lTlN.'
Business Name

ElN: -

N b Sl t
“"‘ e' rea Name of accountant or bookkeeper Dates business existed z

From To
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City State ZlF Code §

 

= 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business'? lnclude all financial
institutions, creditors, or other parties.

 

No
¥es. Fill in the details below.

Date issued
_`_“_ ____
Name MM l on / vav

Number Street

 

_____________
ciiy scale ziP code

| have read the answers on this Statement ofFi'nancia/Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement. concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.§§152,1341,1519, and 3571.

 

x mac

Signatura of Debtor 1

Date\,L-/ \'<a| 10 \B Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Officia| Form 107)?

g No
m Ves

 

Signalure of Debtor 2

you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
N

O

l;l Ves. Name ol person . Attach the Bankruptcy Peti'lion Preparer's Notice,
Dec/arati`on. and S/`gnature (Official Form 119).

 

 

thcia| Form 107 Statement of Financla| Affairs for individuals Fi|ing for Bankruptcy page 12

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American Express
PO Box 981537
El Paso, TX 79998

Bank of America
0 DE5919@307
Newark, DE 19714

Chase Card
391 N. Walnut St., FL 09
wilmington, DE 19801-3935

Discover Bank
PO Box 15316 0
Wilmington, DE 19859-5316

SunTrust
1691 Semmes Ave
Richmond, VA 23224

SunTrust Bankcard
7455 Chancellor Drive MC FL
Orlando, FL 328@9

SunTrust Credit Card Services
Default Management

P 0 Box 621629

Orlando, FL 32862-1929

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Creditor

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